Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 1 of 22 PagelD 1
FILED

UNITED STATES DISTRICT COURT

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aie G Uo TROT OF FLORIGA
ORLAHIS, FLORIDA

Middle District of Florida

Orlando Division

CHRISTOPHER LANGDON, ) Case no.

Plaintiff, ) JURY TRIAL REQUESTED

GREYSTAR, ROBERT “BOB” FAITH, )
CEO of GREYSTAR, BARRY JOHNSON,  )
THE STATE OF FLORIDA, ASHLEY )
MOODY, ATTORNEY GENERAL )
of the STATE OF FLORIDA, SUN LAKE)
MULTI- FAMILY HOLDINGS, LLC, )
EVELYN CAMACHO, ALLISON MURRELL )
ANGELA WHITT, THE HONORABLE )
LISA T. MUNYON, CHIEF JUDGE of )
the 9TH JUDICIAL CIRCUIT COURT, )
& SHAWNA POLLOCK, )

Defendants

COMPLAINT FOR A CIVIL CASE

I. The Parties to this Complaint

Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 2 of 22 PagelD 2

A. The Plaintiff
Christopher D. Langdon

P.O.B. 43
Winter Park, Florida 32790

(I have no street address and I am homeless. I accept
mail at my P.O. Box)

407-488-8169

Qiologist@yahoo.com (the first letter is a “Q” not a “G”)

B. The Defendants

Defendant No. 1

Greystar Property Management

Corporate Offices

465 Meeting Street

Charleston, South Carolina 29403
1-843-579-9400

Defendant No. 2

Robert “Bob” Faith

CEO of Greystar

Corporate Offices

465 Meeting Street, Suite 500,
Charleston, South Carolina 29403

1-843-579-9400
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 3 of 22 PagelD 3

Defendant No. 3

Barry B. Johnson, attorney

247 Maitland Ave.

Suite1000

Altamonte Springs, Fla. 32701
407-478-7950

Defendant No. 4

Evelyn Camacho
Current, or former, employee of Greystar

Address and phone number unknown

Defendant No. 5

Allison Murrell

Current, or former, employee of Greystar
C/O Greystar

315 East Robinson Street

Orlando, Florida 32801

407-377-0600

Home Address

415 Raintree Court

Winter Park, Fla. 32789
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 4 of 22 PagelD 4

Defendant No. 6

Angela Whitt, Current, or former, employee of Greystar
C/O Sun Lake Apartments
420 Sun Lake Circle
Lake Mary, Florida 32746
407-904-5525

Defendant No. 7

THE STATE OF FLORIDA

Ashley Moody

Attorney General of the State of Florida

PL-O1

The Capitol

Tallahassee, Florida 32399-1050
1-850-414-3300

Defendant No. 8.

The Honorable Lisa T. Munyon, Chief Judge of

The Ninth Judicial Circuit Court of Florida

The Orange County Courthouse,425 North Orange Ave.
Courtroom19-A

Orlando, Florida 32801

407-836-2470
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 5 of 22 PagelD 5

Defendant No. 9

Sun Lake Multi-Family Holdings, LLC,
4500 Biscayne Blvd.
Suite 200

Miami, Fla. 33137 (phone number unknown)

Defendant No. 10

Shawna Pollock

C/O Sun Lake Apts.
420 Sun Lake Circle
Lake Mary, Fla. 32746
407-904-5525

Defendant No. 11

The Honorable Judge Paetra Brownlee
The Ninth Judicial Circuit Court
Courtroom 18-B

The Orange County Courthouse

425 N. Orange Ave.

Orlando, Florida 32801

407-836-0568

II. Basis for Jurisdiction

X. Federal Question-Yes X. Diversity of Citizenship-Yes
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 6 of 22 PagelD 6

A. The Constitution of The United States of America, Article I,

Section I, Amendment J, Amendment V & Amendment XIV,

42 U.S.C.A., Section 1983
B.

(1) The Plaintiff, Christopher Langdon, is a citizen of
The State of Florida.

(2) (a) The Defendant, Robert “Bob” Faith, according to my

understanding and belief, is a citizen of The State of

South Carolina.

(b) The Defendant Greystar is either a partnership,
or a corporation, according to my understanding and
belief, and has its main headquarters and place of
business in The State of South Carolina. I am uncertain,
if, or where, it is incorporated.

(c) The Defendant, Sun Lake Multi-Family Holdings, LLC,

is incorporated in The State of Delaware, and has its

main office in The State of Florida.

(d) The Defendants Barry Johnson, Evelyn Camacho,

Allison Murrell, Angela Whitt, Judge Lisa T. Munyon,

Attorney General Ashley Moody, Judge Luis Calderon,

Judge Paetra Brownlee and Shawna Pollock are

Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 7 of 22 PagelD 7

residents of The State of Florida

III. Statement of Claims

(a) The judges and justices in the State of Florida are elected, not
appointed for life, as federal judges are, and they accept campaign contri-
butions. Therefore, they lack the independence and objectivity that federal
judges have, thus denying litigants, including myself, due process of law, equal
protection under the law, and meaningful access to the courts, in violation of
The Constitution of the United States of America, Article III, Section 1,
Amendments I, V, and XIV. Relief is available directly under the U.S.
Constitution and 42 U.S.C.A, Section 1983.

(b) The courts of The State of Florida, and The Ninth Judicial Circuit
Court, Orlando, deny equal protection under the law, due process of law, and
meaningful access to the courts, to pro se litigants in general, and myself in
particular. Therefore, they are in violation of The Constitution of the United
States of America, Amendments I, V, and XIV, and, The Constitution of the State
of Florida, Article 1, Sections 2, 9, and 21. Relief is available directly under the
respective Constitutions cited, and 42 U.S.C.A., Section 1983.

(c) The Ninth Judicial Circuit Court has denied my right to
have the issues I raised, that are triable by a jury, decided by a jury. Particu-
larly: whether a purported settlement agreement was procured through fraud

and deceit; whether the purported settlement was void for lack of performance;
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 8 of 22 PagelD 8

whether Defendants Pollock and Murrell committed perjury; whether attorney
Barry Johnson suborned the perjury of Defendants Pollock and Murrell; wheth-
er Defendant attorney Barry Johnson perpetrated a fraud on the court by
creating a fraudulent order of dismissal; and other issues.

Therefore, The Ninth Judicial Circuit Court, has violated, and is violating,
my right to: a trial by jury as guaranteed by The Constitution of The State of
Florida, Article I, Section 22; my right to due process of law, equal protection
under the law, and meaningful access to the courts, guaranteed by The Con-
stitution of the United States of America, Amendments I, V & XIV, and The
Constitution of the State of Florida, Article I, Sections 2,9, and 21. Relief is

available directly under the Constitutions cited, and 42 U.S.C.A., Section 1983.

(d) In the almost three years since I filed my complaint against
Sun Lake, Greystar et alia, | have attended only one hearing, on a Defendants’
motion, and that was without a court reporter present, and over my objections.
I was allotted less than 5 minutes to respond and was continually interrupted
by Judge Calderon who became an advocate for the defense.

I have been denied numerous requests for hearings on my motions,

including, but not limited to, five Motions to Compel Discovery. Attorney
Johnson has lied to the court, stating that I was unwilling to confer on

motions. He has obstructed my efforts to have hearings on my motions.
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 9 of 22 PagelD 9

No judge in the Ninth Judicial Circuit Court has responded in a meaningful
manner to any issue raised by me. So far, after almost three years, I haven’t
had a hearing on any motion filed by me in the state court. These unreason-
able delays by the court and by Defendant Johnson have violated my right to
meaningful access to the courts, due process of law, equal protection under the
law, and justice without denial, delay or favoritism, in violation of The Consti-
tution of the United States of America and The Constitution of the State of
Florida.

(It is my understanding that fraud and deceit must be pled with particular-
ity, including the fraud on the court by Defendant Johnson and his suborning
of perjury. Therefore, I have delineated most, but not all, of the fraud below, as

briefly as possible.)

(e) In May of 20151 rented an apartment at Sun Lake Apartments,
Lake Mary, Florida, managed by Greystar. I believe the rental agent was
Defendant Camacho, who, along with Defendant Pollock used fraud and deceit
to induce me to rent at Sun Lake. They concealed from me the fact that the
man in the unit below me smoked continuously, pouring smoke into my unit,
and, that smoking was banned inside the apartments at Sun Lake Apartments,
but an exception had been made for him. They also concealed defects in the

complex and my apartment. Other Greystar employees, including Defendant
Case 6:21-cv-01256-RBD-G_K Documenti1 Filed 08/04/21 Page 10 of 22 PagelD 10

10

Whitt, used fraud, deceit and threats to induce me to stay at Sun Lake. I
followed the requirements of The Florida Landlord Tenant Law and informed
Sun Lake/ Greystar and Whitt that I would no longer pay rent, unless they
corrected the problems, and they refused to do so.

(f) The Defendants used fraud and deceit to induce an attorney to
create a notice of eviction, which was placed on my door, which was in violation
of the Florida Landlord Tenant Law. They broke the lease and violated the
contract. Therefore, I moved out.

I complained to Defendant Allison Murrell of Greystar in Orlando.
She used fraud, deceit and threats to try to get me to pay rent I did not owe. |
complained to Defendant Robert Faith, the CEO of Greystar, but he never re-

sponded. Greystar, Sun Lake Apartments, executive Robert Faith, and Greystar

employees, including Whitt and Murrell, stole my security deposit.

(g) Greystar ruined my excellent credit and made me homeless.
Other apartment complexes have refused to rent to me until this matter is
resolved. I filed a complaint in The Ninth Judicial Circuit Court, Orlando against
Sun Lake, Greystar, National Credit Systems, et alia, case no. 2017-SC-024330-
0, in the Ninth Judicial Circuit Court. I subsequently settled with National

Credit Systems.
Case 6:21-cv-01256-RBD-G_K Documenti1- Filed 08/04/21 Page 11 of 22 PagelD 11

11

At an arbitration meeting, I reached a purported settlement agreement
with the remaining Defendants, through their lawyer, Barry Johnson. Subse-
quently, NCS sent me two documents that Greystar had provided to them. The
concealed documents prove that the purported settlement agreement with the

remaining Defendants was procured by fraud and deceit. One of the two

documents is fraudulent, a fabrication by Greystar, and was used by the

Defendants to induce National Credit Systems to harass me for money I never

owed, and to ruin my credit.

Furthermore, defense attorney Johnson misrepresented the law, used
threats to coerce me into signing the settlement agreement, and the Defendants

never complied with the purported settlement agreement.

(h) Therefore, armed with new, previously concealed evidence, I sought
relief from the purported settlement agreement, and to re-instate my claims, in
2017-SC-0243330-0, in The Ninth Judicial District Court, Orlando, hereafter
Langdon v. Sun Lake I. The formerly presiding judge correctly ruled that he no
longer had jurisdiction to consider the matter. Therefore, I filed case no. 2019-
CA-009184-0, an independent action, hereafter Langdon v. Sun Lake I, in The
Ninth Judicial Circuit Court, Orlando.

(i) Defense attorney Barry Johnson filed a motion to dismiss which was

a fraud on the court, full of lies and mis-representations of the law. A hearing
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 12 of 22 PagelD 12

12

of 15 minutes was ordered, which is way too brief for a pro se party in a com-
plicated case, especially when confronted with an attorney who uses fraud,
deceit, and suborns perjury.

I requested a continuance because the court reporter did not show up.
Judge Calderon said he would only wait five minutes. During the break he and
defense attorney Johnson engaged in a chummy conversation, indicating that
they knew each other. After a lapse of 5 minutes, the hearing began without
the court reporter, over my objections.

Mr. Johnson spoke at length, and whenever I raised an objection, Judge
Calderon told me to be quiet. When it was finally my turn to speak, Judge
Calderon admitted he hadn’t read my lawsuit, that he had only “glanced
through it.” He asked me to explain my lawsuit, taking up what little time I
had, and then he kept interrupting me and asked frivolous questions. I was
never allowed to develop an uninterrupted chain of thought. He became an
advocate for the defense. When I objected, he became angry and told me not to
interrupt him. He and Johnson took up what little time there was, leaving me
with virtually no time to defend the motion to dismiss.

Judge Calderon granted the motion to dismiss, with the stipulation
that I be allowed to amend my complaint. The erroneous basis for the motion

was a false argument not raised by the defense attorney, but raised sua sponte
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 13 of 22 PagelD 13

13

by Judge Calderon. He then asked defense attorney Johnson to draw up the
Order of Dismissal, and asked Johnson to stay for an ex parte meeting. I was
told to leave and was not allowed to participate in the meeting.

Johnson then drew up a fraudulent Order of Dismissal that was signed

by Judge Calderon. The order had a completely different “legal” basis than

what Judge Calderon stated was the basis for his dismissal, at the so called
“hearing.” It contained only false, erroneous statements presented by Johnson
that was a reflection of his motion to dismiss.

I pointed out the fraudulent basis of the Order of Dismissal, written up
by Johnson, in my filings in the state case, Langdon v. Sun Lake HT, over two
years ago. Neither Johnson nor Judge Calderon has ever disputed these
allegations. Although I waived any immunity I might have for these allegations,
Defendant Johnson has never asked for a retraction, nor sued me for
defamation. Therefore, these allegations should be deemed admitted and true.

(j) Judge Calderon blocked any discovery in my state case, including
any hearing on my five motions to compel discovery, or hearings on any of my
other motions. He denied me any hearing on any of my motions.

(k) In October of 2019, attorney Johnson suborned perjury, and per-

petrated a fraud on the court, by filing a perjurious “affidavit,” signed by

Defendants Pollock and Murrell. I asked for a hearing before a jury on this

Case 6:21-cv-01256-RBD-G_K Documenti1 Filed 08/04/21 Page 14 of 22 PagelD 14

14

matter, but my request was not granted. Fraud in Florida is supposed to be
determined by a jury, and I requested a jury trial.

(l) In my filings in the state court, I waived any immunity I might have
for my numerous statements in my court filings that accuse Defendants
Pollock and Murrell of committing perjury. I also waived any immunity I might
have for accusing Defendant Barry Johnson of: suborning perjury; perpetrating
fraud on the court; lying in a hearing; and misrepresenting the law and facts

in the case. In January of 2020, I wrote a letter to over fifty of the judges of

The Ninth Judicial Circuit, accusing attorney Barry Johnson of suborning

perjury, fraud on the court, lying, etc. I placed the letter in their mailboxes by

me at the Orange County Courthouse. Only three judges returned the letter.

A copy of the letter was filed with The Orange County Clerk of Court and
placed in the case file for Langdon v. Sun Lake et alia, and a copy was sent to
attorney Barry Johnson. At no time has any Defendant, Johnson, Pollock or
Murrell, asked me for a retraction, nor have they filed any denials with the
court, nor with the judges of Ninth Judicial Circuit Court, as far as I know.

Over two years ago, I created two websites, Sunlakecrooks.com and
Greystarcrooks.com. The latter directs people to the latter. Gryestarcrooks.com
delineates: the fraud and deceit by the Defendants; the misappropriation of my

security deposit; the shabby conditions at Sun Lake; the perjury by Pollock and
Case 6:21-cv-01256-RBD-G_K Documenti1 Filed 08/04/21 Page 15 of 22 PagelD 15

15

Murrell; the suborning of perjury by Johnson; and other accusations against
the Defendants. The Defendants have not asked me to take down the websites,
nor have I been sued by any of the Defendants for defamation.

The Ninth Judicial Circuit Court has ignored my accusations of perjury
and suborning perjury, and blocked every effort I have made to further sub-
stantiate my accusations, by not allowing discovery, nor a jury trial, on those
issues.

It is my understanding that Defendant Barry Johnson is allowed to
practice law before the U.S. District Court for the Middle District of Florida.
Therefore, it is imperative that my un-denied accusations against Defendant
Johnson be properly scrutinized in the appropriate judicial proceedings in the
federal court. The Ninth Judicial Circuit Court has abrogated its responsibility
to do so, because of its pro-lawyer, anti-pro se bias.

(m) The Defendants have obstructed my rights to due process of law,
equal protection under the law, and meaningful and timely access to the
courts, through fraud and deceit, and also, by the perjury of Pollock and
Murrell, and in the suborning of perjury by Johnson.

Also, Johnson has blocked hearings on my motions by lying and saying I
hadn’t conferred with him, when he was the one who wouldn’t confer.

Whenever I tried to set a date for a hearing, he claimed to be unavailable.
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 16 of 22 PagelD 16

16

Stephanie Tate, an assistant in The Ninth Judicial Circuit Court has been very
accommodating to Johnson and an obstructionist to me.

(n) The Federal District Court is the proper venue for my claims
because: The state court judges and justices of The Supreme Court of the State
of Florida lack the objectivity to rule on the constitutionality of their elections;
the judges of The Ninth Judicial Circuit Court lack the objectivity to rule on the
constitutionality of their handling of pro se lawsuits; Judge Calderon dis-
missed my complaint, albeit with the right to amend it, without addressing the
constitutionality of the election of judges, although I raised the issue in my
original lawsuit; the Ninth Judicial Circuit Court has refused, in actuality, to
adjudicate my claims; three of the Defendants in this case, Faith, Johnson and
Camacho, have not been joined as Defendants in the state court proceedings,
through no fault of mine; I have not been allowed a full and fair opportunity to
amend my complaint in the state courts; and the perjury, fraud, deceit and
obstructionism of the defendants.

(o) Just recently, the Ninth Judicial Circuit Court has refused to
allow 45 minutes for a hearing for the Defendants’ motion to dismiss, restric-
ting hearings to 15 minutes. As a pro se party I require more time, especially
considering the complications in the case, the fraud and deceit of the
Defendants, and my health problems. I suffer from severe hypoglycemia, and I

was seriously mugged, and I sometimes get severe headaches.
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 17 of 22 PagelD 17

17

(p) I have been homeless since I left Sun Lake in September,
2015, and the Defendants have impeded my ability to get work. I completed
the appropriate course, and passed the test, to become a certified process
server. I wrote to the supervisor of process servers in Orange County, the Chief
Judge of The Ninth Judicial Circuit Court at the time, Judge Lauten. I sought
permission to work for a process serving company, although I am homeless,
through no fault if mine. He never responded, demonstrating the bias of the

judges in the circuit against homeless people.

(IV) Relief Sought

A. A Declaratory Judgment, holding that the election of judges and jus-
tices, above small claims courts and traffic courts, in The State of
Florida, is contrary to The Constitution of the United States of America.

B. A Declaratory Judgment holding that the courts of The State of Florida,
and particularly The Ninth Judicial Circuit Court, discriminate against
pro se parties, including myself, by denying due process of law, equal
protection under the law and meaningful access to the courts, contrary
to Constitution of the United States of America, Amendments I, V, & XIV.

C. A Writ of Mandamus, requiring: that the courts of The State of Florida,

and The Ninth Judicial Circuit Court, grant pro se parties at least thirty
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 18 of 22 PagelD 18

18

minutes for hearings on motions, and 45 minutes to defend motions to
dismiss, or other dispositive motions; that those courts address all
issues raised by pro se parties, verbally at hearings, and in writing in
their judgments, orders and opinions; and that those courts cite
controlling case law in their opinions, judgments, orders, opinions, and
other rulings, in a precise manner in order to clarify any issues raised

on appeal.

D. A Writ of Mandamus, or injunction, requiring; that the courts of The
State of Florida, and The Ninth Judicial District Court, liberally construe
the pleadings of pro se parties; that they give them every opportunity to
make their cases including frequent amendments to their complaints,
liberal discovery, equal time at hearings and other proceedings; a fair
opportunity to have court reporters present at any hearings; and a fair
and equal opportunity to make their cases.

E. A Writ of Mandamus requiring that the courts of The State of Florida,
and The Ninth Judicial Circuit Court, inform pro se litigants what issues
are triable by a jury, and give them the opportunity to have those
issues tried by a jury, if they so request.

F, A Writ of Mandamus, or injunction, barring judges in courts of The

State of Florida and The Ninth Judicial District Court from holding any

ex parte meetings, particularly those that exclude pro se parties.
Case 6:21-cv-01256-RBD-G_K Document1 Filed 08/04/21 Page 19 of 22 PagelD 19

19

G. A Writ of Mandamus ordering Defendant Barry Johnson, attorney at
law, and Defendant Greystar, inform me if Evelyn Camacho was the
person who induced me to rent at Sun Lake Apartments, and signed
some of the related paperwork, what her middle name, if any, is, and
her date of birth, in order to assist me in locating and serving her.

H. A Writ of Mandamus ordering Defendants lawyers and Defendant
Greystar to expeditiously provide me with the appropriate addresses
and phone numbers, home and work, for service of process for the
Defendants in this case. If the information is unknown, then their last
known addresses and places of work.

I. A Writ of Mandamus ordering Defendant Barry Johnson to cease and
desist sending me any additional abusive, harassing, emails, or other
abusive communications. In addition, it should require him to reveal
any and all associations with Judge Calderon and Judge Brownlee,
including any political campaign contributions by him, his family and
associates to them.

J. A Writ of Mandamus allowing this case to proceed under diversity and
federal issues, and that Langdon v. Sun Lake et alia, case no. 2019-CA-
009 184-0 in The Ninth Judicial Circuit Court, Orlando, be held in abey-
ance, or suspension, until this federal case has run its course and all

issues are resolved.
Case 6:21-cv-01256-RBD-G_K Documenti1 Filed 08/04/21 Page 20 of 22 PagelD 20

20

ance, or suspension, until this federal case has run its course and all
issues are resolved.

K. A Writ of Mandamus requiring the Defendants to supply me with an
exact accounting of the handling of my security deposit for my rental at
Sun Lake Apartments, with the names of those handling it, the dates,
copies of the original documents and the right to examine the originals,
by myself and by forensic experts.

L. A Wnt of Mandamus requiring Bank of America to supply me with
copies of all of the documents regarding the handling of my security
deposit.

M. A jury trial.

N. A letter from Greystar stating that I was a good tenant and that I left
before the end of the lease through no fault of mine, with a copy sent to
me and a copy placed in my credit report.

O. A Writ of Mandamus ordering Greystar to inform renters of apartments
which they manage what their smoking policy is, and to quickly remove
tenants who violate that policy.

P. An extremely competent attorney appointed to assist me and a Writ of
Mandamus ordering the courts of Florida to provide an attorney to
indigent pro se parties in cases involving important constitutional

rights.
Case 6:21-cv-01256-RBD-G_K Documenti1- Filed 08/04/21 Page 21 of 22 PagelD 21

21

Q. A Writ of Mandamus ordering the Ninth judicial Circuit Court to allow me
work as a certified process server, under supervision of an established
firm, although I am homeless.

R. A Writ of Mandamus barring attorney Johnson from representing the
other Defendants in this case, due to a conflict of interest.

S. A Writ of Mandamus requiring the Defendants to expeditiously fulfill
discovery requests, including depositions.

T. Damages from Defendants Greystar, Sun Lake, Camacho, Murrell,
Pollack, Faith, and Whitt, of $400,000, and from the same Defendants,
$750,000 in punitive damages. Damages from Defendant Barry
Johnson of $150,000 and punitive damages of $150,00. Also, court
costs, expenses, and attorneys’ fees, if any.

Additionally, any other relief that the court deems just.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to
the best of my knowledge, information and belief that this complaint:
(1) is not being presented for an improper purpose, such as to harass,
cause unnecessary delay, or needlessly increase the cost of litigation;

(2) is supported by existing law or by a nonfrivolous argument for
Case 6:21-cv-01256-RBD-G_K Documenti1- Filed 08/04/21 Page 22 of 22 PagelD 22

2

extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if so specifically identified,
will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise

complies with the requirements of Rule 11.

Christopher Langdon, maine Golfo. IX as Lae

